       Case 8:13-cr-00650-DKC          Document 355      Filed 03/30/20     Page 1 of 17



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

                                                 :
SHANE ELLIOTT HARE
                                                 :

        v.                                       :    Civil Action No. DKC 17-0767
                                                      Criminal No. DKC 13-0650-001
                                                 :
UNITED STATES OF AMERICA
                                                 :

                                      MEMORANDUM OPINION

        Presently pending and ready for resolution are a motion to

vacate sentence filed by Petitioner Shane Hare (“Petitioner”)

(ECF     No.   310),          and     three    motions       to    amend    or     supplement

Petitioner’s motion to vacate sentence (ECF Nos. 334; 346; and

352).        For    the       following       reasons,    the     motions     to      amend   or

supplement will be granted and the motion to vacate sentence

will be denied.

I.      Background

        On   June       27,    2014,       Petitioner    was      convicted      by    jury   of

conspiracy to interfere with commerce by robbery (“Count 1”),

conspiracy to possess with the intent to distribute more than

500 grams but less than five kilograms of cocaine (“Count 2”),

conspiracy         to    possess       a    firearm     in     furtherance       of     a    drug

trafficking         crime       and    crime     of     violence      (“Count         3”),    and

possession of a firearm in furtherance of a drug trafficking

crime and crime of violence (“Count 4”).                            On October 1, 2014,
     Case 8:13-cr-00650-DKC    Document 355      Filed 03/30/20    Page 2 of 17



Petitioner was sentenced to 132 months imprisonment, consisting

of   72     months   on    Counts    1,    2,   and    3,   concurrent,     and    a

consecutive 60 months on Count 4.                Petitioner appealed to the

United States Court of Appeals for the Fourth Circuit, and his

conviction was affirmed on April 19, 2016.                    United States v.

Hare, 820 F.3d 93 (4th Cir. 2016).1               Petitioner’s petition for

writ of certiorari was denied by the Supreme Court of the United

States on October 3, 2016.           Hare v. United States, 137 S.Ct. 224

(mem.),     reh’g    denied,   137    S.Ct.     460     (2016).      Accordingly,

Petitioner’s convictions became final on October 3, 2016.                         See

Clay v. United States, 537 U.S. 522, 527 (2003).

        On March 20, 2017, Petitioner filed the pending motion to

vacate his sentence pursuant to 28 U.S.C. § 2255.                        (ECF No.

310).       The government was directed to respond to the motion,

(ECF No. 312), and did so on June 16, 2017                        (ECF No. 319).

Petitioner replied on July 17, 2017.                  (ECF No. 323).     On April

12, 2017, Petitioner filed a supplement to his motion to vacate

sentence.       (ECF No. 313).            On December 18, 2017, Petitioner

filed the first motion to amend or supplement his motion to

vacate sentence.          (ECF No. 334).        On July 1, 2019, the court


        1
       As will be discussed in more detail below, counsel raised
an issue based on Johnson v. United States, 135 S.Ct. 2551
(2015), arguing that the § 924(c) conviction could not stand
because the Hobbs Act robbery conspiracy was not a crime of
violence.   The Fourth Circuit rejected that challenge because
the § 924(c) conviction also rested on a drug trafficking crime.
                                           2
      Case 8:13-cr-00650-DKC    Document 355       Filed 03/30/20   Page 3 of 17



received a second motion to amend or supplement, (ECF No. 346),

and   on    January   30,    2020,   the       court   received     a    request    for

permission to supplement (ECF No. 352).

II.   Motion to Vacate Sentence

      A.     Standard of Review

      To be eligible for relief under § 2255, a petitioner must

show, by a preponderance of the evidence, that his “sentence was

imposed in violation of the Constitution or laws of the United

States, or that the court was without jurisdiction to impose

such sentence, or that the sentence was in excess of the maximum

authorized by law.”         28 U.S.C. § 2255(a).          A pro se movant, such

as Petitioner, is entitled to have his arguments reviewed with

appropriate consideration.           See Gordon v. Leeke, 574 F.2d 1147,

1151–53 (4th Cir. 1978).         But if the § 2255 motion, along with

the files and records of the case, conclusively show that he is

not entitled to relief, a hearing on the motion is unnecessary

and the claims raised in the motion may be dismissed summarily.

§ 2255(b).

      B.     Ineffective Assistance of Counsel Claims

      Petitioner brings three claims of ineffective assistance of

counsel to challenge his convictions and sentence.2

      To     establish      ineffective        assistance     of        counsel,    the

petitioner must show both that his attorney’s performance fell

      2    Petitioner    had   the   same      counsel   during     trial     and    on
appeal.
                                           3
       Case 8:13-cr-00650-DKC        Document 355        Filed 03/30/20        Page 4 of 17



below     an    objective       standard         of    reasonableness          and       that    he

suffered actual prejudice.                    Strickland v. Washington, 466 U.S.

668, 687 (1984).           There is a strong presumption that counsel’s

conduct falls within a wide range of reasonably professional

conduct, and courts must be highly deferential in scrutinizing

counsel’s performance.               Strickland, 466 U.S. at 688–89; Bunch v.

Thompson, 949 F.2d 1354, 1363 (4th Cir. 1991).                          Courts must judge

the reasonableness of attorney conduct “as of the time their

actions     occurred,       not      the       conduct’s       consequences        after        the

fact.”         Frye   v.    Lee,      235       F.3d    897,    906     (4th     Cir.      2000).

Furthermore, a determination need not be made concerning the

attorney’s performance if it is clear that no prejudice could

have resulted from some performance deficiency.                           Strickland, 466

U.S. at 697.          To demonstrate actual prejudice, Petitioner must

show    that    there      is   a    “reasonable        probability        that,         but    for

counsel’s unprofessional errors, the result of the proceeding

would have been different.”                   Id. at 694.

        1.   Counsel was not ineffective for failing to object to a
        special jury verdict form.

        Petitioner first argues that his counsel was ineffective

for     “not    objecting       to       a    special    jury     verdict         form”         that

permitted the jury to convict him of conspiring to distribute

less    than    the   amount        of       cocaine   charged     in    Count       2    of    the

indictment.       (ECF No. 310-1, at 4-5).                 Petitioner contends that,


                                                 4
    Case 8:13-cr-00650-DKC   Document 355         Filed 03/30/20   Page 5 of 17



as a result, he was convicted of a crime that he was not charged

with and thus did not have notice to defend against at trial.

(Id. at 5-7).     Petitioner also argues that counsel’s failure to

raise    this   issue   “after   the       jury    verdict     and    on   appeal”

constituted ineffective assistance of counsel.                (Id. at 2, 8).

                  A defendant charged with conspiracy to
             import   or   distribute   an  amount  of   a
             controlled substance “can, if the evidence
             warrants, be convicted of one of the lesser
             included offenses” based on a smaller amount
             of the substance.    United States v. Brooks,
             524 F.3d 549, 555 n.9 (4th Cir. 2008). Such
             a verdict is permissible as “an offense
             necessarily    included    in   the   offense
             charged.”   Fed.R.Crim.P. 31(c)(1).   Because
             the lesser included offense is included in
             the charged offense, there is no variance.
             See United States v. Martinez, 430 F.3d 317,
             340 (6th Cir. 2005) (“[T]his results in
             neither a prejudicial variance from, nor a
             constructive amendment to the indictment
             because [the defendant] was merely convicted
             of a lesser-included offense and all the
             elements of the former necessarily include
             those of the latter.”).

United States v. Cabrera-Beltran, 660 F.3d 742, 753 (4th Cir.

2011) (alteration in original).              Thus, counsel had no viable

reason to object to the special verdict form, post-trial or on

appeal, and was not ineffective for failing to raise a meritless

argument.3



     3 Petitioner argues that should he succeed on this claim and
have his conviction vacated as to Count 2, he would argue that
Count 1 would be insufficient to support his conviction as to
Count 4 because a conspiracy to commit robbery “is not a violent
crime for 924(c) purposes.” (ECF No. 310-1, at 9). Because the
                                       5
       Case 8:13-cr-00650-DKC       Document 355      Filed 03/30/20    Page 6 of 17



        2.       Counsel was not ineffective on appeal.

        Petitioner next argues that his counsel was ineffective for

failing to “[address properly] the insufficiency of the evidence

as to [C]ounts 1 and 2” on appeal.                       (ECF No. 310-1, at 9).

Specifically,          Petitioner       contends    that    counsel       should       have

argued that Petitioner could not be convicted as to Counts 1 and

2     for    a   lesser   amount    “because       the   government[’]s       case     and

evidence was specific that there was a conspiracy to rob 10-15

kilograms        of   cocaine[.]”          (Id.,   at    13).      Along    this       same

reasoning,         Petitioner       also     argues      that     his     counsel      was

ineffective for failing to argue that “[t]he jury instructions

in this case clearly should have been that if the jury found

that” Petitioner went along with Plan B, rather than Plan A,

“they must render a verdict of not guilty” because “Plan B does

not constitute a robbery” to support a guilty verdict on Count

1.4     (Id., at 16).          For the reasons discussed below, the court

rejects both arguments.

        Counsel       argued   in   a    post-trial      motion    that    the     jury’s

verdict as to Counts 1 and 2 was “entirely inconsistent, as

there could be no agreement to the amount of drugs found in


court rejects Petitioner’s claim with respect to Count 2, it
need not consider this argument.

        4
       “Plan A” was to rob a drug stash house of between 10 and
15 kilograms of cocaine. “Plan B” was to stage a fake robbery
and Petitioner and his co-defendants would take three kilograms
of cocaine. (ECF Nos. 310-1, at 17; 319, at 10).
                                             6
    Case 8:13-cr-00650-DKC    Document 355        Filed 03/30/20       Page 7 of 17



Count 2 based upon an agreement to rob” in Count 1.                             (ECF No.

217, at 2-3).      The court rejected that argument, stating that it

is not axiomatic from the jury’s determination that the quantity

of cocaine was less than five kilograms on Count 2 that the

jury’s verdict on Count 1 was based on insufficient evidence.

(See ECF No. 281, at 37-39).

        To the extent Petitioner argues that counsel should have

raised the issue again on appeal, the selection of which issues

to present on appeal is, almost by its very nature, a strategic

decision.     See Burket v. Angelone, 208 F.3d 172, 189 (4th Cir.

2000)    (“[A]ppellate     counsel    is      given    significant        latitude     to

develop a strategy that may omit meritorious claims in order to

avoid burying issues in a legal jungle.”);                       Haynes v. United

States,    451    F.Supp.2d   713,    722      (D.Md.       2006)    (“Limiting        the

issues to the stronger or strongest ones while winnowing out the

weaker is sound appellate strategy.”); Lawrence v. Branker, 517

F.3d 700, 709 (4th Cir. 2008) (“Effective assistance of appellate

counsel    does    not   require    the    presentation         of   all    issues      on

appeal that may have merit, and [the court] must accord counsel

the presumption that he decided which issues were most likely to

afford    relief    on   appeal.”         (quotation        marks,     brackets,       and

citations    omitted)).       Consequently,           while    it    is    conceivably

possible to bring an ineffective assistance claim premised on an

appellate    counsel's     failure    to      raise    an     issue,      “it   will    be

                                          7
    Case 8:13-cr-00650-DKC       Document 355      Filed 03/30/20    Page 8 of 17



difficult.”     Bell v. Jarvis, 236 F.3d 149, 164 (4th Cir. 2000)

(quotation     marks      and    brackets      omitted).            An   ineffective

assistance claim based on an ignored issue generally will only

succeed “when ignored issues are clearly stronger than those

presented.”     Lawrence, 517 F.3d at 709.

        Petitioner   has   not    met   that    standard      here.        Appellate

counsel raised several issues on appeal, making at least one

argument of such strength that the Fourth Circuit addressed the

appeal in a published opinion.               Petitioner does not show how

making his proposed arguments challenging the jury instructions

and verdicts as to Counts 1 and 2 would have been stronger than

those    presented   on    appeal.      As   the    court    stated       in   denying

Petitioner’s post-trial motion, the fact that the jury made the

determination that the quantity of cocaine foreseeable was not

above five kilograms does not mean that the jury had to have

accepted that Plan B was the only agreement reached and must

have rejected Plan A.            (ECF No. 281, at 37-38).                Furthermore,

“it has long been settled that inconsistent jury verdicts do not

call into question the validity or legitimacy of the resulting

guilty verdicts[,]”         United States v. Green, 599 F.3d 360, 369

(4th Cir. 2010) (citing United States v. Powell, 469 U.S. 57, 64

(1984); Dunn v. United States, 284 U.S. 390, 393 (1932); United

States v. Blankenship, 707 F.2d 807, 810 (4th Cir. 1983)), and a

defendant cannot challenge his conviction based on inconsistent

                                        8
      Case 8:13-cr-00650-DKC        Document 355         Filed 03/30/20       Page 9 of 17



verdicts, United States v. Louthian, 756 F.3d 295, 305 (4th Cir.

2014).        “Indeed,       an     inconsistent          verdict       can     result       from

mistake, compromise, or lenity, and a jury could just as likely

err in acquitting as in convicting.”                          Id.      Therefore, counsel

did   not    render       ineffective      assistance          in   deciding      to     forego

making      likely    fruitless         arguments        in    favor    of     making     other

stronger arguments on appeal.                  See, e.g., Shaneberger v. Jones,

615 F.3d 448, 452 (6th Cir. 2010).

      Petitioner also makes an argument regarding his entrapment

defense      and     appears       to     argue      that       counsel        ineffectively

challenged the government’s response to Petitioner’s entrapment

defense.      (See ECF No. 310-1, at 18) (“The above arguments are

the   arguments      that    counsel       should        have    made.”).         Petitioner

argues      that     in    response       to       his    entrapment          argument,       the

government “continued telling the jury to take the agent out of

the equation[,]” which “was impossible . . . because the agent

was the main actor.”              (Id. at 16-17).             Petitioner further argues

that the government “had to tell the jury to take the agent out,

because they knew the law related to a law enforcement officer,

and   conspiracy[.]”              (Id.   at    17).           Specifically,       Petitioner

contends that he and his co-defendants could not conspire with

an    undercover      law     enforcement           official.           (Id.).          It     is

undisputed that if all of the participants in the scheme to rob

the drug stash house or stage a fake robbery were government

                                               9
      Case 8:13-cr-00650-DKC         Document 355         Filed 03/30/20      Page 10 of 17



agents, except for Petitioner, then no conspiracy would exist as

Petitioner could not be convicted of conspiring with himself.

See United States v. Hayes, 775 F.2d 1279, 1283 (4th Cir. 1985).

Such is not the case here, however.                        The conspiracy in Count 1

was supported by Petitioner’s agreement with his co-defendants

who    were    not       government         agents.          Thus,        counsel    was       not

ineffective for failing to make this argument on appeal.

       Furthermore, to the extent Petitioner argues counsel should

have    raised      an   entrapment         argument       on    appeal,      even   assuming

counsel was deficient, Petitioner cannot show prejudice.                                 In its

opinion affirming Petitioner’s convictions, the Fourth Circuit

explicitly stated that “[it] would reject an entrapment claim,

were Appellants raising one.”                  Hare, 820 F.3d at 102 n.7 (“When

the    issue   of    entrapment        is    submitted          to    the   jury,    a    guilty

verdict     ‘comprehends         a    finding        of     no       entrapment’     and       ‘an

appellate      court      may    overturn         this    determination           only    if   no

rational trier of fact could have found predisposition beyond a

reasonable       doubt,        viewing      the     evidence         in     the   light     most

favorable      to        the    prosecution.’             Under       the     predisposition

principles explained herein, a reasonable juror could have found

predisposition on the part of Appellants.”                             (internal citation

omitted)).

       Therefore, Petitioner has failed to establish that counsel

rendered ineffective assistance on appeal.

                                              10
      Case 8:13-cr-00650-DKC     Document 355        Filed 03/30/20    Page 11 of 17



       3.   Counsel did not render ineffective assistance by
       failing to argue that Petitioner was illegally charged by
       indictment as to Count 4.

       Lastly, Petitioner argues that counsel was ineffective for

“fail[ing] to make an argument prior to trial, after trial, and

on appeal that [Petitioner] was illegally charged by indictment

as    to   [Count   4].”       (ECF   No.        310-1,   at    19).     Essentially,

Petitioner contends that counsel should have argued that the

government charged use of the same gun for two separate crimes

alleged in a single count — i.e., both in furtherance of drug

trafficking and in furtherance of a crime of violence.                         (Id. at

20-24).

       “[W]here a statute is worded in the disjunctive, federal

pleading requires the Government to charge in the conjunctive.

The    district     court,     however,      can    instruct     the    jury    in     the

disjunctive.        To do otherwise would improperly add elements to

the crime that are not contained in the statute itself.”                         United

States v. Montgomery, 262 F.3d 233, 242 (4th Cir. 2001) (internal

citation omitted); see also Griffin v. United States, 502 U.S.

46, 51 (1991) (“[I]t [is] regular practice for prosecutors to

charge     conjunctively,       in    one    count,       the    various     means     of

committing a statutory offense, in order to avoid the pitfalls

of duplicitous pleading.”); United States v. Perry, 560 F.3d

246, 256 (4th Cir. 2009) (“[W]hen the Government charges in the

conjunctive, and the statute is worded in the disjunctive, the

                                            11
      Case 8:13-cr-00650-DKC      Document 355      Filed 03/30/20        Page 12 of 17



district     court   can    instruct     the     jury       in    the    disjunctive.”);

United States v. Robinson, 627 F.3d 941, 958 (4th Cir. 2010) (“It

is black letter law that duplicitous indictments can be cured

through appropriate jury instructions.”).

       Here,   although      the    government       charged            Count       4    in    the

conjunctive in the indictment, the court instructed the jury in

the    disjunctive.        (ECF    No.    193,     at       35-36).         Additionally,

although the jury found the Defendant guilty of possessing a

firearm in furtherance of both a crime of violence and a drug

trafficking crime, the Defendant was not convicted of more than

one count under 18 U.S.C. § 924(c).                     Contrary to Petitioner’s

contention,     he   was    not    charged     with         and    convicted            of     “two

separate 924(c) crimes.”             (ECF No. 310-1, at 22).                    Therefore,

counsel was not ineffective for failing to argue that Petitioner

was    “illegally     charged”      as   to    Count        4     nor    was     Petitioner

prejudiced as a result.

       Additionally, Petitioner argues that “counsel after trial

and    on   appeal    should      have    argued     that         [C]ount       4       was    not

supported by the evidence of the jury’s verdict” because Count 4

was    “specifically       tied    to    [C]ounts       1    and    2     which          was    in

furtherance of five kilograms or more of cocaine.”                                      (ECF No.

310-1, at 23-24).          Counsel made this argument in a post-trial

motion for a judgment of acquittal and for a new trial (ECF No.

217, at 3-4), which the court denied, finding that there was

                                          12
     Case 8:13-cr-00650-DKC       Document 355        Filed 03/30/20        Page 13 of 17



sufficient evidence on Counts 1 and 2 to support Count 4 (ECF

No. 281, at 40).

      Petitioner does not show how making his proposed argument

on   appeal    would      have    been       stronger          than    those     presented.

Therefore,     Petitioner        has    failed       to    establish         that   counsel

rendered ineffective assistance on appeal.

III. Motions to Amend or Supplement

      The     Anti–Terrorism           and    Effective          Death       Penalty        Act

(“ADEPA”) imposes a one-year statute of limitations on § 2255

motions brought by federal prisoners.                      To be timely, a federal

prisoner must file any motion to vacate, set aside, or correct

his sentence, including any amendments, within one year of the

date on which the judgment of conviction becomes final.                                     28

U.S.C.    §   2255(f)(1).         Here,      Petitioner’s             convictions     became

final when his petition for writ of certiorari was denied by the

Supreme     Court   on    October      3,    2016.        Clay,       537   U.S.    at   527.

Petitioner’s motions to amend or supplement his motion to vacate

sentence were filed more than one year later.                           As a result, the

allegations     can      only    be    considered         if    they     relate     back    to

Petitioner’s original motion under Fed.R.Civ.P. 15(c)(1), or if

another statutory provision renders the filing timely.

      Petitioner raised one new challenge in his first motion to

amend; specifically, he argues that counsel was ineffective for

failing to raise the issue that there was insufficient evidence

                                             13
      Case 8:13-cr-00650-DKC     Document 355        Filed 03/30/20   Page 14 of 17



to support Petitioner’s conviction as to Count 4 because the

mere presence of a weapon at the scene of a drug crime, without

more,    is   insufficient      to    prove     possession       of   a   firearm     in

furtherance of a drug trafficking crime.                     (ECF No. 334, at 2,

6).     Generously read, this claim can be said to arise out of the

same     “conduct,     transaction,        or        occurrence”      set     out     in

Petitioner’s original § 2255 motion, which alleges ineffective

assistance of counsel during trial, post-trial, and on appeal.

Fed.R.Civ.P.     15(c)(1)(B).          Therefore,        Petitioner’s       motion    to

amend    or   supplement       his   motion     to    vacate     sentence    will     be

granted and his additional argument will be considered with the

arguments asserted in his initial § 2255 motion.

        Petitioner argues that counsel should have raised the issue

that there was insufficient evidence to support his conviction

for possession of a firearm in furtherance of a drug trafficking

crime because the mere presence of a weapon at the scene of a

drug crime, without more, is insufficient to prove possession.

(ECF No. 334, at 2, 6).              Counsel made this argument in a post-

trial motion for a judgment of acquittal and for a new trial

(ECF No. 217, at 3-4), which the court denied, finding that

there was sufficient evidence on Counts 1 and 2 to support Count

4 (ECF No. 281, at 40).          Petitioner does not show how making his

proposed argument on appeal would have been stronger than those



                                         14
   Case 8:13-cr-00650-DKC       Document 355     Filed 03/30/20   Page 15 of 17



presented.      Therefore, Petitioner has failed to establish that

counsel rendered ineffective assistance on appeal.

     In his second motion to supplement, Petitioner complains

that his conviction in Count 4 under 18 U.S.C. § 924(c) is

unconstitutional and, based on an asserted concession made by

the Government at oral argument before the Supreme Court in

United States v. Davis, 139 S.Ct. 2319 (2019), his “stash house

sting” conviction cannot stand.5             (ECF No. 346, at 2-3).

     In the third motion to supplement, Petitioner relies on

United    States   v.   Davis    to   argue,    again,    that    conspiracy        to

commit Hobbs Act robbery is not a crime of violence.                      (ECF No.

352-1, at 3-6).

     Both of these proposed supplements seek to challenge the

viability of the § 924(c) conviction because the conviction in

Count 1 no longer qualifies as a crime of violence.                     There are

several reasons why these claims provide no avenue of relief.

First,    the   issue   was   raised    on     direct   appeal.       The       Fourth

Circuit    explicitly    upheld       the    conviction     on    Count     4     even

assuming there was some deficiency in considering Count 1 as a

crime of violence.         Petitioner was convicted also of a drug

trafficking crime in Count 2, and the verdict on Count 4 was

     5 The purported concession was that the Government might
lose cases at trial based on the specific facts of a case if the
crime of violence issue was presented to a jury. Tr. April 17,
2019, at 66.   The Court rejected the Government’s proposal and
adopted instead the categorical approach.
                                        15
      Case 8:13-cr-00650-DKC      Document 355      Filed 03/30/20   Page 16 of 17



based on that as well.            Ordinarily, an issue raised and decided

on direct appeal on its merits cannot be raised again in a

§ 2255 petition.          Runyon v. United States, 228 F.Supp.3d 569,

588 (E.D.Va. 2017), appeal docketed, No. 17-5 (4th Cir. Aug. 21,

2017).       Petitioner may contend, however, both that the issue was

not decided on its merits and that exceptional circumstances are

present due to a change in substantive law.                    Even if timely and

not foreclosed by the direct appeal, the supplement still fails

to provide an avenue for relief.                   It is now established that

conspiracy to commit a Hobbs Act robbery is not a crime of

violence for § 924(c) purposes.               United States v. Simms, 914 F.

3d 229 (4th Cir. 2019).            The drug trafficking crime in Count 2

remains      valid,    however,    and   it    still     supports    the   §   924(c)

conviction.          There is no ambiguity in the record in this case.

The special verdict form states that the § 924(c) conviction

rests on both predicates.

IV.    Conclusion

       For     the    foregoing     reasons,       the   motions     to    amend     or

supplement      Petitioner’s       motion     to    vacate     sentence     will     be

granted and the motion to vacate sentence filed by Petitioner

Shane Hare will be denied.

       Pursuant to Rule 11(a) of the Rules Governing Proceedings

under 28 U.S.C. §§ 2254 or 2255, the court is also required to

issue or deny a certificate of appealability when it enters a

                                         16
   Case 8:13-cr-00650-DKC         Document 355          Filed 03/30/20    Page 17 of 17



final    order       adverse    to     the    petitioner.           A    certificate       of

appealability is a “jurisdictional prerequisite” to an appeal

from the court’s order.               United States v. Hadden, 475 F.3d 652,

659 (4th Cir. 2007).            A certificate of appealability may issue

“only if the applicant has made a substantial showing of the

denial of a constitutional right.”                        28 U.S.C. § 2253(c)(2).

Where the court denies the petitioner’s motion on its merits, a

petitioner       satisfies       this        standard      by      demonstrating         that

reasonable     jurists       would     find    the   court’s       assessment       of    the

constitutional         claims    debatable         or     wrong.          See    Slack     v.

McDaniel,      529    U.S.     473,    484    (2000);       see    also     Miller–El      v.

Cockrell, 537 U.S. 322, 336–38 (2003).

        Upon   its     review    of     the    record,       the    court       finds    that

Petitioner does not satisfy the above standard.                          Accordingly, it

declines to issue a certificate of appealability.                               A separate

order will follow.



                                                             /s/
                                                   DEBORAH K. CHASANOW
                                                   United States District Judge




                                              17
